Case 11-37983-bjh7   Doc 17   Filed 12/27/11 Entered 12/27/11 15:09:31   Desc Main
                              Document     Page 1 of 4
Case 11-37983-bjh7   Doc 17   Filed 12/27/11 Entered 12/27/11 15:09:31   Desc Main
                              Document     Page 2 of 4
Case 11-37983-bjh7   Doc 17   Filed 12/27/11 Entered 12/27/11 15:09:31   Desc Main
                              Document     Page 3 of 4
Case 11-37983-bjh7   Doc 17   Filed 12/27/11 Entered 12/27/11 15:09:31   Desc Main
                              Document     Page 4 of 4
